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                  IN THE UNITED   STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division


VICTORIA RHODES,    et al..

            Plaintiffs,

V.                                         Civil Action No.     l:14-cv-213


COMPUTER SCIENCES CORPORATION,

            Defendant.



                                    ORDER


      THIS MATTER is before the Court pursuant to the Stipulation

for Order and Defendant's pending motions for stay execution of

judgment and to set the bond. Upon consideration of the

stipulation,   it is hereby ORDERED that the Stipulation is hereby

approved. The Court ORDERS;       (1)   the hearing set for Friday,

December 19,   2015,   is CANCELLED;     (2)   the deadline for Plaintiffs

to submit their motion for attorneys'           fees,   and costs in this

matter is STAYED until fourteen days after the action is

remanded to this Court; and       (3)   Plaintiffs may submit a motion

to amend judgment within the time permitted. However, all

further briefing is stayed pending a ruling on the appeal by the

United States Court of Appeals for the Fourth Circuit.             If the

judgment is affirmed by the Fourth Circuit,             Plaintiff will

supplement his motion with exhibits and authorities within 14

days of a remand. The Defendant will then respond to the motion
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in the normal time, and Defendant may file any response to such

motions within twenty-eight days of remand,

FURTHER,   Defendants motion to stay execution of the judgment and

to set bond is approved by separate Order.




                                         CLAUDE   M.   HILTON
                                         UNITED STATES     DISTRICT   JUDGE
Alexandria,   Virginia
December   22^ ,   2014
